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                             United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

MOBILITY WORKX, LLC                                     §
                                                        §       CASE NO. 4:24cv1061
v.                                                      §       Judge Mazzant
                                                        §
INTERTEK USA INC.                                       §

                        ORDER GOVERNING PROCEEDINGS
                                             (Patent Case)

        This case is SET for the Initial Rule 16 Management Conference before the undersigned on
Tuesday, August 5, 2025, at 9:00 a.m., to be held via Zoom or telephone; instructions will
follow. Counsel for each party, with authority to bind their respective clients, and all unrepresented
parties, shall be present1.

                                  A. Rule 26 Attorney Conference

        The Rule 26(f) attorney conference in this case must occur by July 7, 2025. The conference
may be by telephone. Rule 26(f)requires attorneys of record and all unrepresented parties to confer
and attempt in good faith to agree on a proposed scheduling order (See Appendix B) and to file with
the clerk a joint report outlining their proposals no later than 14 days after the conference.

        Before commencing the Rule 26(f) conference, counsel must discuss settlement options with
their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
conference. Counsel should also inquire whether their clients are amenable to trial before a United
States magistrate judge. Parties consenting should file the appropriate form as soon as possible. See
Local Rules for the Eastern District of Texas, Local Rule CV-72, and instructions on the Court’s
Website at www.txed.uscourts.gov.

The parties must include the following matters in the joint conference report.

                (1)     Suggested modifications of the proposed deadlines for the scheduling order set
                        out in Appendix B, including:.

                        a.      The need for and any specific limits on discovery relating to claim
                                construction, including depositions of witnesses, including expert
                                witnesses;




         1
            Before the case management conference, counsel and unrepresented parties should review the
 FEDERAL RULES OF CIVIL PROCEDURE, the LOCAL COURT RULES FOR THE EASTERN DISTRICT
 OF TEXAS, and the PATENT RULES of this court (all as most recently amended). The Local Court Rules and
 the Patent Rules are available on the Eastern District of Texas website (http://www.txed.uscourts.gov)
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                      b.     The scheduling of a Claim Construction Pre-hearing Conference to be
                             held after the Joint Claim Construction and Pre-hearing Statement
                             provided for in P.R.4-3 has been filed.

              (2)     If the parties believe mediation may be appropriate, and the parties can agree
                      upon a mediator, the name, address, and phone number of that mediator
                      should be stated.

              (3)     What changes, if any, should be made to the limitations on discovery imposed
                      by the rules, including the number of depositions and interrogatories.

              (4)     The identity of persons expected to be deposed.

              (5)     Any issues relating to disclosure of information (electronically stored and
                      otherwise) including the form or forms in which it should be produced and
                      timing of production. (See Section E - Mandatory Disclosures)

              (6)     Any issues relating to preserving discoverable information, including whether
                      a Preservation Order is needed to protect any documents and/or electronically
                      stored information.

              (7)     Whether any other orders should be entered by the Court pursuant to Fed. R.
                      Civ. P. 26(c), Fed. R. Civ. P. 16(b) or Fed. R. Civ. P. 16(c).

              (8)     Estimated trial time.

              (9)     The names of the attorneys who will appear on behalf of the parties at the
                      management conference (the appearing attorney must be an attorney of record
                      and have full authority to bind the client).

              (10)    Any other matters counsel deem appropriate for inclusion in the joint
                      conference report.

                                     B. Motions to Transfer

      Any motions to transfer shall be filed no later than twenty-one days before the Case
Management Conference.

                                   C. Scheduling Conference

       At the scheduling conference, counsel shall be prepared to discuss the proposed scheduling
       order and the following issues related to the Claim Construction Hearing:

              (1)     Whether the court will hear live testimony at the Claim Construction Hearing;



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               (2)     The order of presentation at the Claim Construction Hearing;

               (3)     Estimated time limits for the Claim Construction Hearing.

                                         D. Protective Order

        The Protective Order, attached as Appendix A is hereby entered in this case and shall
apply to all discovery and disclosures herein.

                                   E. Contested Motion Practice

       Counsel and parties shall comply with Local Rules CV-7, CV-10, CV-11, and for motions for
summary judgement, CV-56, in addition to the Federal Rules of Civil Procedure. Local Rule CV-7
requires you to attach affidavits and other supporting documents to the motion or response. Labeled
tabs on the attachments to the courtesy copy will make it easier to find them.

        Counsel are reminded to comply with this Court’s Local Rules regarding courtesy copies (See
Local Rule CV-5(a)(9)). Pursuant to Local Rule CV-7(b), highlight in the courtesy copy, the portions
of the affidavits or other supporting documents which are cited in your motion or response.

                               F. Safeguarding Personal Information

        The Judicial Conference of the United States has implemented policies to protect sensitive
private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy
case. To that end, all documents filed with the court and made available to the public, whether
electronically or on paper, should limit certain information as follows:

       •       for Social Security numbers, use only the last four digits;
       •       for financial account numbers, use only the last four digits;
       •       for names of minor children, use only their initials;
       •       for dates of birth, use only the year; and

         If such information is elicited during testimony or other court proceedings, it will become
available to the public when the official transcript is filed at the courthouse unless, and until, it is
redacted. The better practice is for you to avoid introducing this information into the record in the
first place. Please take this into account when questioning witnesses or making other statements in
court.

                                  G. Compliance with Patent Rules

       The Local Patent Rules of the Eastern District of Texas (cited as P.R. ___), ( available on the
Eastern District Website) shall apply to all proceedings in this case. In the absence of a showing of
good cause by a party objecting to a required disclosure, the parties shall disclose, without further
request or order, all information required by the Patent Rules in accordance with the deadlines set by
the Rules.


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                                      H. Mandatory Disclosures

        To the extent any such information is not required by the Local Patent Rules to be disclosed
at an earlier date, Mandatory Disclosures shall be completed by the date set in the Scheduling Order
entered after the Rule 16 management conference. Mandatory Disclosures consist of Initial
Disclosures required by Fed. R. Civ. P. 26(a)(1) and the information listed below:

        (1)     the correct names of the parties to the action;

        (2)     the name and, if known, address and telephone number of any potential parties to the
                action;

        (3)     the name and, if known, the address and telephone number of persons having
                knowledge of facts relevant to the claim or defense of any party, a brief characterization
                of their connection to the case and a fair summary of the substance of the information
                known by such person (may be combined with list of persons required under Rule
                26(a)(1)(A) so two list are not needed).

        (4)     depending upon agreements of the parties or ruling of the court, a copy of, or a
                description by category and location where each is available for inspection and copying,
                all documents, electronically stored information, and tangible things that are in the
                possession, custody, or control of the party relevant to the claims or defenses of any
                party. In this regard, the parties might agree to exchange images of documents
                electronically or by means of computer disk instead of paper; or the parties might agree
                to review and copy disclosure materials at the offices of the attorneys representing the
                parties instead of requiring each side to furnish copies of the disclosure materials.
                Various forms of staggered, or rolling, disclosures might be considered.

See Local Rule CV-26(d) for meaning of “relevant to the claim or defense of any party.”

        The duty of disclosure is continuing and requires supplementation as set out in Fed. R. Civ.
P. 26(e).

        A party that fails to disclose any information required to be disclosed by any order of this court
or the Patent Rules of this court will not, unless such failure is harmless, be permitted to use such
evidence at trial, hearing or in support of a motion.

        To the extent that any party pleads a claim for relief or defensive matter other than those
addressed in the Court’s Patent Rules, the parties shall also, without waiting for a request from other
parties, exchange, by the date set for Mandatory Disclosures, all such information relevant to those
additionally pleaded claims or defenses involved in this action.




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         Absent agreement of the parties, depositions of witnesses shall not be taken until after the
Initial Rule 16 management conference. Following the management conference, the court will enter
a scheduling order establishing parameters of discovery and setting deadlines controlling disposition
of the case.

                                       I. Discovery Limitations

        Given the extensive disclosures required without a request from opposing party, absent
further order of this court, discovery in this cause is limited to the disclosures described in this
order, the Local Patent Rules and the Scheduling Order, together with 45 interrogatories, 45
requests for admissions, depositions on written questions of custodians of business records for
third parties, and 40 hours of deposition time per side. “Side” means a party or a group of parties
with a common interest. Time will count whether used in direct examination or cross-examination
of any witness. Any party may move at the Initial Management Conference to modify these
limitations for good cause.

                                       J. Privileged Information

        There is no duty to disclose privileged documents or information. However, the parties are
directed to meet and confer concerning privileged documents or information at the Initial Rule 26
Conference. As directed in the Scheduling Order, the parties shall exchange privilege logs
identifying the documents or information and the basis for any disputed claim of privilege in a
manner that, without revealing information itself privileged or protected, will enable the other
parties to assess the applicability of the privilege or protection. Any party may move the court for
an order compelling the production of any documents or information identified on any other
party’s privilege log. If such a motion is made, the party asserting privilege shall respond to the
motion within the time period provided by Local Rule CV-7. The party asserting privilege shall
file with its response any proof in the form of declarations or affidavits to support assertions of
privilege, along with the documents over which privilege is asserted for in camera inspection. If
the parties have no disputes concerning privileged documents or information, then the parties shall
inform the court of that fact.

                                          K. Failure to Serve

         Any defendant who has not been served with the summons and complaint within 90 days after
the filing of the complaint shall be dismissed, without further notice, unless prior to such time the
party on whose behalf such service is required shows good cause why service has not been made. (See
Fed. R. Civ. P. 4(m)).


                                          L. Fictitious Parties

         The name of every party shall be set out in the complaint (Fed. R. Civ. P. 10(a)). The use of
fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue Shield, 112 F.3d. 869, 872 (7th
Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all fictitious parties.


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    Dismissal is without prejudice to the right of any party to take advantage of the provisions of Fed. R.
    Civ. P. 15(c).



                                                M. Settlement

           Plaintiff’s counsel shall immediately notify the court upon settlement.

                                                N. Compliance

            Attorneys and pro se litigants who appear in this court shall comply with the deadlines set forth
    in the Federal Rules of Civil Procedure the Local Rules for the Eastern District of Texas as modified
    by the Patent Rules of this court, and this court’s orders. A party is not excused from the
    requirements of an order by virtue of the fact that dispositive motions are pending, the party has not
    completed its investigation, the party challenges the sufficiency of the opposing party’s disclosure, or
    because another party has failed to comply with this order or the rules.

            Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
    Procedure, the Patent Rules of this court, or any order of this court may result in the exclusion of
    evidence at trial, the imposition of sanctions by the court, or both. If a fellow member of the Bar makes
    a just request for cooperation or seeks scheduling accommodation, a lawyer will not arbitrarily or
    unreasonable withhold consent. However, the court is not bound to accept agreements of counsel to
    extend deadlines imposed by rule or court order. See Local Rule AT-3(j).

                                                 O. Resources

             The Eastern District of Texas website (http://www.txed.uscourts.gov) contains the Eastern
.   District Local Rules and the Local Patent Rules, links to other judicial sites and other information. For
    a fee, the PACER system allows you to access case information via the internet. To establish a PACER
    account, call (800) 676-6856.

           Appendices A and B are attached and incorporated herein.

           IT IS SO ORDERED.
           SIGNED this 6th day of June, 2025.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE



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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

MOBILITY WORKX, LLC                                       §
                                                          §     CASE NO. 4:24cv1061
v.                                                        §     Judge Mazzant
                                                          §
INTERTEK USA INC.                                         §

                                       PROTECTIVE ORDER

        The Court, sua sponte, issues this Protective Order to facilitate document disclosure and

production under the Local Rules of this Court and the Federal Rules of Civil Procedure. Unless

modified pursuant to the terms contained in this Order, this Order shall remain in effect through the

conclusion of this litigation.

        In support of this order, the court finds that:

1.      Documents or information containing confidential proprietary and business information and/or

        trade secrets (“Confidential Information”) that bear significantly on the parties’ claims or

        defenses is likely to be disclosed or produced during the course of discovery in this litigation;

2.      The parties to this litigation may assert that public dissemination and disclosure of

        Confidential Information could severely injure or damage the party disclosing or producing the

        Confidential Information and could place that party at a competitive disadvantage;

3.      Counsel for the party or parties receiving Confidential Information are presently without

        sufficient information to accept the representation(s) made by the party or parties producing

        Confidential Information as to the confidential, proprietary, and/or trade secret nature of such

        Confidential Information; and

4.      To protect the respective interests of the parties and to facilitate the progress of disclosure and

        discovery in this case, the following Order should issue:


 Appendix A - Protective Order                     -7-
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      IT IS THEREFORE ORDERED THAT:

(1)   Documents or discovery responses containing Confidential Information disclosed or produced

      by any party in this litigation are referred to as “Protected Documents.” Except as otherwise

      indicated below, all documents or discovery responses designated by the producing party as

      “Confidential” and which are disclosed or produced to the attorney’s for the other parties to

      this litigation are Protected Documents and are entitled to confidential treatment as described

      below.

(2)   Protected Documents shall not include (a) advertising materials, (b) materials that on their face

      show that they have been published to the general public, or (c) documents that have submitted

      to any governmental entity without request for confidential treatment.

(3)   At any time after the delivery of Protected Documents, counsel for the party or parties

      receiving the Protected Documents may challenge the Confidential designation of all or any

      portion thereof by providing written notice thereof to counsel for the party disclosing or

      producing the Protected Documents. If the parties are unable to agree as to whether the

      confidential designation of discovery material is appropriate, the party or parties receiving the

      Protected Documents shall certify to the Court that the parties cannot reach an agreement as

      to the confidential nature of all or a portion of the Protected Documents. Thereafter, the party

      or parties disclosing or producing the Protected Documents shall have ten (10) days from the

      date of certification to file a motion for protective order with regard to any Protected

      Documents in dispute. The party or parties producing the Protected Documents shall have

      the burden of establishing that the disputed Protected Documents are entitled to confidential

      treatment. If the party or parties producing the Protected Documents do not timely file a

      motion for protective order, then the Protected Documents in dispute shall no longer be


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      subject to confidential treatment as provided in this Order. All Protected Documents are

      entitled to confidential treatment pursuant to the terms of this Order until and unless the

      parties formally agree in writing to the contrary, a party fails to timely move for a protective

      order, or a contrary determination is made by the Court as to whether all or a portion of a

      Protected Document is entitled to confidential treatment.

(4)   Confidential Treatment. Protected Documents and any information contained therein shall

      not be used or shown, disseminated, copied, or in any way communicated to anyone for any

      purpose whatsoever, except as provided for below.

(5)   Protected Documents and any information contained therein shall be disclosed only to the

      following persons (“Qualified Persons”):

      (1)     Outside counsel of record in this action for the party or party receiving Protected
              Documents or any information contained therein;

      (2)     Employees of such counsel (excluding experts and investigators) assigned to and
              necessary to assist such counsel in the preparation and trial of this action; and

      (3)     The Court.

      Protected Documents and any information contained therein shall be used solely for the

      prosecution of this litigation.

(6)   Outside counsel of record for the party or parties receiving Protected Documents may create

      an index of the Protected Documents and furnish it to attorneys of record representing or

      having represented parties involved in litigation involving the claims alleged in this suit against

      the party or parties disclosing or producing the Protected Documents. The index may only

      identify the document, date, author, and general subject matter of any Protected Document,

      but may not reveal the substance of any such document. Counsel for the party or parties




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        receiving Protected Documents shall maintain a current log of the names and addresses of

        persons to whom the index was furnished.

 (7)    The term “copy” as used herein means any photographic, mechanical or computerized copy

        or reproduction of any document or thing, or any verbatim transcript, in whole or in part, of

        such document or thing.

 (8)    To the extent that Protected Documents or information contained therein are used in

        depositions, such documents or information shall remain subject to the provisions of this

        Order, along with the transcript pages of the deposition referring to the Protected Documents

        or information contained therein.

 (9)    Any court reporter or transcriber who reports or transcribes deposition testimony in this action

        shall agree that all “confidential” information designated as such under this Order shall remain

        “confidential” and shall not be disclosed by them, except pursuant to the terms of this Order,

        and that any notes or transcriptions of such deposition testimony (and any accompanying

        exhibits) will be retained by the reporter or delivered to counsel of record.

 (10)   Inadvertent or unintentional production of documents or information containing Confidential

        Information which are not designated “confidential” shall not be deemed a waiver in whole

        or in part of a claim for confidential treatment.

 (11)   The party or parties receiving Protected Documents shall not under any circumstances sell,

        offer for sale, advertise, or publicize Protected Documents or any information contained

        therein.

 (12)   After termination of this litigation, the provisions of this Order shall continue to be binding,

        except with respect to those documents and information that become a matter of public record.

        This Court retains and shall have continuing jurisdiction over the parties and recipients of the


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        Protected Documents for enforcement of the provisions of this Order following termination

        of this litigation.

 (13)   Upon termination of this action by dismissal, judgment, or settlement, counsel for the party

        or parties receiving Protected Documents shall return the Protected Documents to the counsel

        for the party or parties disclosing or producing the Protected Documents. The party or parties

        receiving the Protected Documents shall keep their attorney work product which refers or

        relates to any Protected Documents. Attorney work product may be used in subsequent

        litigation provided that such use does not disclose Protected Documents or any information

        contained therein.

 (14)   This Order shall be binding upon the parties and their attorneys, successors, executors,

        personal representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

        divisions, employees, agents, independent contractors, or other persons or organizations over

        which they have control.

        The Court anticipates that the parties may file a motion to modify the terms hereof with

 respect to the sharing of Protected Documents with experts and consultants; shifting the cost burden

 of production equitably; and other terms that may be reasonably required to protect a party as provided

 in Rule 26(b) or (c) of the Federal Rules of Civil Procedure.




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 Appendix B

                                         Proposed Deadlines

 Parties are directed to discuss the proposed deadlines in conjunction with the E.D. Tex. Patent Rules.


 10 days after Mgmt. Conf.             P.R. 3-1 Disclosure of Asserted Claims and Infringement
                                       Contentions (and P.R. 3-2 document production) to be served.

 5 weeks after Mgmt. Conf.             Join Additional Parties

 To be discussed at                    Mediation.
 Mgmt. Conf.                           The Court will discuss appointing a mediator at the Scheduling
                                       Conference.

 7 weeks after Mgmt. Conf.             Privilege Logs to be exchanged by parties
                                       (or a letter to the Court stating that there are no disputes as to
                                       claims of privileged documents).

 5 weeks after Mgmt. Conf.             P.R. 3-3 Invalidity Contentions (and P.R. 3-4 document
                                       production) to be served. To extent not already required to be
                                       disclosed, exchange Mandatory Disclosures on all issues,
                                       including damages.

 No later than 45 days after           Parties to exchange proposed terms for construction and identify
 Mgmt. Conf.                           any claim element governed by 35 U.S.C. § 112, ¶ 6 (P.R. 4-1).


 No later than 65 days after           Parties to exchange preliminary proposed claim construction
 Mgmt. Conf.                           and extrinsic evidence supporting same (P.R. 4-2).

 13 weeks after Mgmt. Conf.            Parties’ Final Amended Pleadings
                                       (A motion for leave is required.)

 No later than 95 days after           Joint Claim Construction and Prehearing Statement to be filed
 Mgmt. Conf.                            (P.R. 4-3). Provide an estimate of how many pages are needed
                                       to brief the disputed claims.

 16 weeks after Mgmt. Conf.            Respond to Amended Pleadings

 No later than 125 days after          Completion date for discovery on claim construction (P.R.

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 Mgmt. Conf.                          4-4).

 No later than 140 days after         Opening claim construction brief (P.R. 4-5(a)).
 Mgmt. Conf.

 No later than 2 weeks after          Responsive claim construction brief (P.R. 4-5(b)).
 claim construction brief

 No later than 7 days after           Reply claim construction brief (P.R. 4-5©).
 response

 4 weeks before claim                 Submit technology synopsis/tutorial (both hard copy and disk).
 construction hearing

 At least 10 days before claim        Parties to file joint claim construction and chart (P.R. 4-5(d)).
 construction hearing                 Parties shall work together to agree on as many claim terms as
                                      possible.

                                      Proposed Claim Construction hearing January 26, 2026, at
                                      9:00 a.m. at the Paul Brown United States Courthouse, 101 E.
                                      Pecan Street, Sherman, Texas 75090.

 5 weeks after claim                  Deadline for Initial Mandatory Disclosure of all persons,
 construction hearing                 documents, data compilations and tangible things, which
                                      are relevant to a claim or defense of any party and which
                                      has not previously been disclosed. This deadline is not an
                                      extension of earlier deadlines set out in this court’s order
                                      or the Patent Rules, nor an excuse to delay disclosure of
                                      information. It is a “catchall” deadline for provision of
                                      all remaining information which may be relevant to a claim
                                      or defense of any party at trial.

 9 weeks after claim                  Parties with burden of proof to designate Expert Witnesses
 construction hearing                 other than claims construction experts and provide their
                                      expert witness reports, to include for ALL experts all
                                      information set out in Rule 26(a)(2)(B).


 _______________________              Comply with P.R. 3-7. (Designation of Wilfulness
                                      Opinions).



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 11 weeks after claim                 Parties to Designate Expert Witnesses on issues for which the
 construction                         parties do not bear the burden of proof, and provide their expert
                                      witness report, to include for ALL experts all information set
                                      out in Rule 26(2)(B).
                                      Note: Objections to any expert, including Daubert
                                      motions, shall be filed within 3 weeks after the expert’s
                                      Report has been disclosed. Such objections and motions are
                                      limited to ten pages each.

 13 weeks after claim                 File Dispositive Motions and any other motions that may
 construction hearing                 require a hearing. Regardless of how many dispositive motions
 (no later than 110 days prior to     a party files, each party is limited to a total of sixty pages for
 the filing of the Joint Final PTO)   such motions. Each individual motion shall comply with Local
                                      Rule CV-7.
                                      Responses to motions shall be due in accordance with Local
                                      Rule CV-7(e).

 13 weeks after claim                 Discovery Deadline. All discovery must be served in time
 construction hearing                 to be completed by this date.

 5 weeks before final pretrial conf   Notice of intent to offer certified records

 5 weeks before final pretrial conf   Counsel and unrepresented parties are each responsible for
                                      contacting opposing counsel and unrepresented parties to
                                      determine how they will prepare the Joint Final Pretrial Order
                                      (See www.txed.uscourts.gov) and Proposed Jury Instructions
                                      and Verdict Form (or Proposed Findings of Fact and
                                      Conclusions of Law in nonjury cases).

 4 weeks before final pretrial conf   Deposition Designation due. Each party who proposes to offer
                                      a deposition shall serve on all other parties a disclosure
                                      identifying the line and page numbers to be offered. All other
                                      parties will have seven calendar days to serve a response with
                                      any objections and request cross- examination line and page
                                      numbers to be included. Counsel must consult on any
                                      objections, and only those which cannot be resolved shall be
                                      presented to the Court.

                                      The party who filed an initial Video Deposition Designation is
                                      responsible for preparation of the final edited video in
                                      accordance with all parties’ designations, the applicable


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                                      Federal Rules of Civil Procedure, and the Court’s rulings on
                                      objections.

 30 days before final pretrial conf   Motions in limine due
                                      File Joint Final Pretrial Order. Exchange Exhibits and deliver
                                      copies to the court. At this date, all that is required to be
                                      submitted to the court is a hyperlinked exhibit list on disk (2
                                      copies) and no hard copies

 2 weeks before final pretrial conf   Response to motions in limine due
                                      File objections to witnesses, deposition extracts, and exhibits,
                                      listed in pre-trial order. (This does not extend the deadline to
                                      object to expert witnesses). If numerous objections are filed the
                                      court may set a hearing prior to the final pretrial conference.
                                      File Proposed Jury Instructions/Form of Verdict (or Proposed
                                      Findings of Fact and Conclusions of Law).

                                      If Parties will be requesting daily copy of the transcript during
                                      trial, they must notify the Court’s court reporter, Chris
                                      Bickham, Chris_Bickham@txed.uscourts.gov, by this date.

 September 18, 2026                   Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                      United States Courthouse, 101 E. Pecan Street, Sherman,
                                      Texas 75090.

 TBD                                  10:00 a.m. Jury Selection and Trial at the Paul Brown United
                                      States Courthouse located at 101 East Pecan Street in
                                      Sherman, Texas.




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